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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:20−cr−00812
                                                       Honorable Harry D. Leinenweber
Michael McClain, et al.
                                        Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, January 2, 2024:


        MINUTE entry before the Honorable Harry D. Leinenweber: Telephone
Conference set for 1/4/24 at 9:00 a.m. for all defendants. Dial: 888−684−8852 or
215−446−0155, access code: 9582710#. Persons granted remote access to proceedings are
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removal of court issued media credentials, restricted entry to future hearings, denial of
entry to future hearings, or any other sanctions deemed necessary by the Court. Mailed
notice (maf)




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